        Case
         Case7:23-cr-00193-CS
              7:23-cr-00193-CS Document
                               Document 16-1
                                        17 Filed
                                             Filed 01/09/24
                                                   01/09/24 Page
                                                             Page11ofof44




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------x
                                 :
 UNITED STATES OF AMERICA        :
                                 :                  ORDER
           - v. -                :
                                 :                  23 Cr. 193 (CS)
 RIDON KOLA,                     :
                                 :
                      Defendant. :
                                 :
 -------------------------------x

               WHEREAS, pursuant to 18 U.S.C. § 4247(b), and the Court’s Order dated

September 7, 2023, a qualified examiner, Ashley Jenkins, Psy.D., conducted a psychological

examination of the defendant, RIDON KOLA, at the Metropolitan Detention Center; and

               WHEREAS, pursuant to 18 U.S.C. § 4247(c), Dr. Jenkins filed a psychological

report, with the Court on November 8, 2023 with copies provided to Elizabeth K. Quinn, Esq.,

then counsel to the defendant, and to the United States, via Damian Williams, United States

Attorney for the Southern District of New York, and Kevin T. Sullivan, Assistant United States

Attorney, of counsel (the “Government”); and

               WHEREAS, the Court granted the motion of Ms. Quinn to be relieved as counsel

on November 13, 2023 and appointed James Roth, Esq. as new counsel to the defendant on the

same date;

               WHEREAS, Dr. Jenkins’ report concluded within a reasonable degree of

psychological certainty that the defendant is presently suffering from a mental disease or defect

rendering him mentally incompetent to the extent that he is unable to assist properly in his defense;

and
          Case
           Case7:23-cr-00193-CS
                7:23-cr-00193-CS Document
                                 Document 16-1
                                          17 Filed
                                               Filed 01/09/24
                                                     01/09/24 Page
                                                               Page22ofof44




                WHEREAS, after reviewing Dr. Jenkins’ report, neither defense counsel nor the

Government has filed any objections to Dr. Jenkins’ findings; and

                WHEREAS, after reviewing Dr. Jenkins’ report, this Court finds that the defendant

is presently suffering from a mental disease or defect rendering him mentally incompetent to the

extent that he is unable to assist properly in his defense;

                IT IS HEREBY ORDERED, pursuant to 18 U.S.C. § 4241(d), that the defendant

be committed to the custody of the Attorney General of the United States; and it is further

                ORDERED, pursuant to 18 U.S.C. § 4241(d)(1), that the Attorney General shall

hospitalize the defendant as soon as possible for treatment in a suitable facility for such a

reasonable period of time, not to exceed four months, as is necessary to determine whether there

is a substantially probability that in the foreseeable future the defendant will attain the capacity to

permit criminal proceedings to go forward against him; and it is further

                ORDERED that the Attorney General shall designate and transport the defendant

to the suitable facility at which the defendant will be hospitalized as expeditiously as possible; and

it is further

                ORDERED that a Bureau of Prisons (“BOP”) Federal Medical Center for prisoners

is a “suitable facility” under 18 U.S.C. §§ 4241(d) and 4247(a)(2); and it is further

                ORDERED that the four-month period for the defendant’s commitment pursuant

to 18 U.S.C. § 4241(d)(1) shall commence upon his arrival at the suitable facility; and it is further

                ORDERED that, should the suitable facility find at any time that the defendant has

attained the capacity to permit criminal proceedings to go forward against him, the BOP shall

notify the Court as soon as practicable; and it is further




                                                  2
         Case
          Case7:23-cr-00193-CS
               7:23-cr-00193-CS Document
                                Document 16-1
                                         17 Filed
                                              Filed 01/09/24
                                                    01/09/24 Page
                                                              Page33ofof44




               ORDERED that, upon the expiration of 30 days from the date of this Order, the

BOP shall provide an interim report to the Court, the Government, and defense counsel regarding

the defendant’s medical and psychological condition; the diagnosis of the examiner(s) at the

suitable facility where the defendant is hospitalized who are assigned to examine the defendant;

and the view of the examiner(s) as to prognosis; and it is further

               ORDERED that, at the conclusion of the examination, evaluation, and treatment of

the defendant in accordance with this Order, the BOP shall make a report of its findings as provided

by 18 U.S.C. §§ 4247(c)(1), (2), (3), and (4)(A); and it is further

               ORDERED that in evaluating the defendant and preparing any and all of the reports

required by this Order, the examiner(s) at the suitable facility where the defendant is hospitalized

who are assigned to examine the defendant shall consider, among any other pertinent materials,

the report referenced in this Order, as well as any further documents that the Court may direct, and

that the Government shall, to the extent necessary, provide copies of all such documents to the

relevant person(s) at the suitable facility where the defendant is hospitalized; and it is further

               ORDERED that the Government ensure that this Order is provided promptly to the

appropriate personnel at the BOP and the United States Marshals Service so that there are no undue

delays in the designation and transportation of the defendant; and it is further

               ORDERED that copies of any medical, psychiatric and/or psychological reports

filed with the Court be provided to the Government to the attention of Assistant United States

Attorney Kevin T. Sullivan, One Saint Andrew’s Plaza, New York, NY 10007, and defense

counsel James Roth, Esq., Stampur & Roth, 299 Broadway, Suite 800, New York, NY 10007, or

any successor counsel appointed to represent the defendant; and it is further




                                                  3
         Case
          Case7:23-cr-00193-CS
               7:23-cr-00193-CS Document
                                Document 16-1
                                         17 Filed
                                              Filed 01/09/24
                                                    01/09/24 Page
                                                              Page44ofof44




               ORDERED that, in light of the commitment of the defendant to the custody of the

Attorney General for treatment pursuant to 18 U.S.C. § 4241(d), time under the Speedy Trial Act

shall be excluded until further order of this Court, as such time involves a period of delay resulting

from proceedings to determine the mental competency of the defendant, see 18 U.S.C.

§ 3161(h)(1)(A).


DATED: January 9 , 2024
       White Plains, New York



                                               ___________________________________
                                               HON. CATHY SEIBEL
                                               UNITED STATES DISTRICT JUDGE
                                               SOUTHERN DISTRICT OF NEW YORK




                                                  4
